                        UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



 Adams, individually and on behalf of all        :
 similarly situated individuals,
                                                 :

                                                 : Case No. 2:18-cv-134
                     Plaintiff,
                                                 :

                                                 : Judge Sarah Morrison
 v.
                                                 :

                                                 : Magistrate Judge Deavers
 Central Ohio Elderly Care, LLC, et al.,
                                                 :

                                                 :
              Defendants.
                                                 :


                                  CONSENT JUDGMENT

       This cause came to be heard and was submitted to the Court upon the Complaint of Plaintiff

Misti Adams (“Plaintiff Adams”), on behalf of herself and similarly situated employees, alleging

claims under the Fair Labor Standards Act of 1938 (“FSLA”), 29 U.S.C. §§201, et. seq., the Ohio

Minimum Fair Wage Standards Act (“the Ohio Wage Act”), O.R.C. §4111, et. seq., the Ohio

Prompt Pay Act (“the OPPA”), Ohio Revised Code §4113.15, and the Ohio Constitution, Oh.

Const. Art. II, §34 (“the Ohio Wage Act, the OPPA and the Ohio Constitution are collectively

referred to as “the Ohio Acts”); the Answer of Defendants Central Ohio Elderly Care, LLC,

(“COEC”), Central Ohio Elderly Care Plus, LLC (“COEC Plus”), and Osman Hassan

(“Defendants”); and the consent of Defendants.
           The Court finds that all necessary parties have been served with summons according to law

and are properly before the Court.

           The Court finds that Defendants have agreed and consented to the entry of judgment and

that Plaintiff shall stay execution of this entry of judgment as agreed by the parties so long as

Defendants make the required initial and monthly payments. 1

           The Court further finds that Plaintiffs shall not execute upon this entry of judgment while

Defendants make monthly payments. If Defendants fail to make any payment required by Exhibit

1 and it is not cured within fifteen (15) days of notice, Plaintiffs shall file a notice of breach with

this Court, serve the same upon Defendant, and thereafter may execute on the Judgment. If

Defendants make total payments of One Hundred and Twenty Thousand Dollars ($120,000) as

provided by Exhibit 1 and the schedule therein, Plaintiff shall move this court to vacate the

judgment and dismiss this case with prejudice. The One Hundred and Twenty Thousand Dollars

($120,000) represents Sixty One Thousand ($61,000) in total payments to Plaintiff Adams and the

eighteen (18) opt-in Plaintiffs who joined the Action by opting into the same for their claims

pursuant to the FSLA and the Ohio Acts; a Three Thousand Dollar ($3,000) Service Award to

Plaintiff Adams for her services provided in this Action on behalf of the Plaintiffs who opted in;

and a Fifty-Six Thousand ($56,000) total payment to the law firm of Contreras Law, LLC

(“Contreras Law”) for reasonable attorneys’ fees and litigation expenses.

           The Parties agree and the Court further finds that there is no just reason for delay in entering

judgment herein.

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that a consent judgment

is entered against of Defendants Central Ohio Elderly Care, LLC, Central Ohio Elderly Care Plus,



1
    See Payment Schedule for Consent Judgment attached as Exhibit 1.
LLC, and Osman Hassan, jointly and severally, in the amount of One Hundred and Twenty

Thousand Dollars ($120,000) as provided by Exhibit 1 and the schedule therein on all claims in

this action and that Defendants consented to the entry of judgment, and that Plaintiff shall stay

execution of this entry of judgment as agreed by the parties so long as Defendants make the initial

payment and thereafter monthly payments according to the Payment Schedule attached to this

Consent Judgment.

       The Court finds that half of the total payments to Plaintiffs are to be treated as gross payroll

wage amounts and shall be paid to Plaintiffs less all applicable withholdings and deductions as

required by law and as provide by the payment schedule attached hereto. The Court Orders

Defendants to pay the employer’s portion of the payroll taxes from funds outside of the judgment.

       The Court further finds that the other half of the total payments to Plaintiffs are to be treated

as gross amounts for statutory damages and shall be paid to Plaintiffs with no deductions or

withholdings therefrom and as provided in the payment schedule attached hereto.

       Defendants are to issue the Plaintiffs an IRS Tax Form W-2 for wage payments that

Plaintiffs receives in accordance with this Consent Judgment that are subject to applicable

withholdings. The Court further orders that the Defendants shall also issue Plaintiffs an IRS Tax

Form 1099-MISC for payments made with no deductions or withholdings therefrom for statutory

damages.

       Defendants shall also issue Contreras Law an IRS Tax Form 1099-MISC for payments

Contreras Law receives in accordance with this Consent Judgment.

       The Court further finds that Plaintiffs and Contreras Law shall not execute upon this entry

of judgment while Defendants make payments required by Exhibit 1. If Defendants fail to make

the initial or a monthly payment and the payment is not cured within fifteen (15) days of notice,
Plaintiffs and Contreras Law shall file a notice of breach with this Court, serve the same upon

Defendants, and thereafter may execute on the Judgment. If Defendants make total payments of

One Hundred and Twenty Thousand Dollars ($120,000) as provided by Exhibit 1, Plaintiffs shall

move this court to vacate the judgment and dismiss this case with prejudice.

       IT IS SO ORDERED.

                                                    /s/ Sarah D. Morrison
                                                    SARAH D. MORRISON
                                                    UNITED STATES DISTRICT JUDGE



STIPULATED AND AGREED:




  /s/ Matthew J.P. Coffman                           /s/ Steven M. Brown
  Matthew J.P. Coffman                               Steven M. Brown (0013000)
  COFFMAN LEGAL, LLC                                 5664 Montridge Lane
  1550 Old Henderson Road                            Dublin, Ohio 43016
  Suite 126                                          Phone: 614-461-8900
  Columbus, Ohio 43220                               Email: stevebrownatty@gmail.com
  Phone: 614-949-1181                                Attorney for Defendants
  Fax: 614-386-9964
  Email: mcoffman@mcoffmanlegal.com

  /s/ Peter Contreras
  Peter Contreras (0087530)
  Contreras Law, LLC
  1550 Old Henderson Road
  Suite 126
  Columbus, Ohio 43220
  Phone: 614-787-4878
  Fax: 614-957-7515
  Email:
  peter.contreras@contrerasfirm.com
  Attorney for Plaintiffs
